                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                            DOCKET NO. 1:15-cr-00068-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                        ORDER
                                                )
 JAMIE LYNN SWARTZ,                             )
                                                )
                  Defendant.                    )



       THIS MATTER is before the court on a pro se letter from defendant, who is presently

incarcerated on the Judgment entered by this court on March 25, 2016, sentencing her to 70

months incarceration. Defendant did not appeal that Judgment, which is now final.

       In her letter, defendant states in relevant part that “I would like to apply for the minor

role.” Letter (#101) at ¶1. The court concludes that defendant is asking the court to reduce her

sentence based on her allegedly playing a “minor role” in the offense of conviction, which was a

conspiracy to distribute a controlled substance. Defendant’s request for a sentence reduction is

not timely as the Judgment is now final and the court lacks authority to alter such sentence at this

point under Rule 35(a) or Rule 36 of the Federal Rules of Criminal Procedure. The court notes

that defendant received a below guidelines sentence based on a joint motion for a downward

variance (based on her criminal history overstating the seriousness of prior criminal conduct) and

that no additional levels were imposed for her role in the offense.




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                                       ORDER

       IT IS, THEREFORE, ORDERED that defendant’s letter (#101), deemed to be a

Motion to Correct of Reduce a Sentence under Rule 35, is DENIED as untimely.




 Signed: September 19, 2016




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